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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA                               Case No. 1:18-cr-99
                       Plaintiff,
v.                                                     Hon. Robert J. Jonker

MARK ANDREW McMICHAEL                                  GOVERNMENT'S
                       Defendant(s).                   INITIAL PRETRIAL CONFERENCE
                                                       SUMMARY STATEMENT

I.    DISCOVERY
      A.    Statements of Defendant

            1.    Oral Statements (Rule 16(a)(1)(A))
                  There are no written records of oral statements or other oral statements as
                  defined in Rule 16(a)(1)(A).
                  There are the following written records of oral statements:
                  12/1/17 Interview by ATF




                  The substance of which
                       has been disclosed to defense counsel.
                       will be disclosed to defense counsel by           May 18, 2018           .

            2.    Written or Recorded Statements (Rule 16(a)(1)(B))
                  There are no written or recorded statements or grand jury testimony of
                  defendant.
                  There are the following written or recorded statements or grand jury
                  testimony:




                  All written or recorded statements
                       have been disclosed to defense counsel.
                       will be disclosed to defense counsel by                                  .
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B.   Defendant's Prior Record (Rule 16(a)(1)(D))

     The Government has made due inquiry and is not aware of any prior criminal record.
     The Government has disclosed defendant's prior criminal history.
     The Government is now making inquiry into defendant's prior criminal history. The
     results will be disclosed to defense counsel upon receipt.

C.   Documents and Tangible Objects (Rule 16(a)(1)(E))
     The Government has no documents, tangible objects, or physical evidence required
     to be disclosed.
     The Government has the following documents, tangible objects, and physical
     evidence:
          Drug Paraphernalia        Drug Records              Inventory (attached)
          Controlled Substances:
          Records:                Mental health and commitment records
          Firearms:         And ammunition. See search warrant return, 1:17-mj-367
          Other:
      The Government voluntarily notifies the defendant of the following search warrants
      issued and the warrant returns:
          State
          Federal:
           Case No.      1:17-mj-367        Re:       339 Sierra Dr., Traverse City MI
           Case No.                         Re:
           Case No.                         Re:
      They have been made available for inspection and copying by defense counsel.
      Defense counsel should make arrangements with:
                                    AUSA Nils R. Kessler


D.   Reports of Examinations and Tests (Rule 16(a)(1)(F))
     The Government has no reports of examinations or tests required to be disclosed by
     Rule 16.
     The Government has or expects to have reports of the following examinations and
     tests:
          Drug Analysis                  Handwriting                     Fingerprints
          DNA                            Firearms/Nexus                  Gun Operability
          Computer Forensics             Other:

E.   Reciprocal Discovery

     The Government seeks reciprocal discovery.
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       F.      Notice Under FRE 404(b)

               The Government does not presently intend to introduce 404(b) evidence.

               The Government does presently intend to introduce the following 404(b) evidence:




             The Government will provide pretrial notice of 404(b) evidence by                          .


       G.      Other Discovery Matters




II.    TRIAL
       A.      The Government requests a            jury        non-jury trial.
       B.      The length of trial excluding jury selection is estimated at        2-3 days   .


III.   MISCELLANEOUS
            This case may be appropriate for expedited resolution.
            The Government is unaware at this time of any known conflict with defendant's
            representation by counsel. The United States will immediately advise counsel if any
            such conflict becomes known.
            The Government is aware of the following potential conflicts:




            Government's plea negotiation policy:

            No consideration for pleas entered less than 4 weeks prior to trial.




Date            May 15, 2018                                        Nils R. Kessler
                                                  Counsel for the United States

                                                                                              (Rev. 07/27/2015)
